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 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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11    Solnsoft LLC dba Scentium,     )                SACV 20-001817-JVS(DFMx)
                                     )
12                                   )                ORDER OF DISMISSAL UPON
                    Plaintiff,       )
13                                   )                SETTLEMENT OF CASE
             v.                      )
14                                   )
      Lifesize, Inc,                 )
15                                   )
                    Defendant(s).    )
16                                   )
                                     )
17    ______________________________ )
18
19          The Court having been advised by the counsel for the parties that the above-
20    entitled action has been settled,
21          IT IS ORDERED that this action be and is hereby dismissed in its entirety
22    without prejudice to the right, upon good cause being shown within 30 days, to reopen
23    the action if settlement is not consummated.
24
25    DATED: October 18, 2021                             __________________________
                                                          James V. Selna
26                                                        U.S. District Judge
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